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                            7   BLUE SPHERE, INC. doing business as LUCKY 13
                                and ROBERT A. KLOETZLY
                            8

                            9
                                                        UNITED STATES DISTRICT COURT
                           10
                                               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                           11
                                                                  SOUTHERN DIVISION
                           12

                           13
                                BLUE SPHERE, INC., a California              CASE NO.: 8:14-cv-00782
                           14   Corporation doing business as
                                LUCKY 13, and ROBERT A.                      FIRST AMENDED COMPLAINT
                           15   KLOETZLY, an individual,                     FOR:
                           16                    Plaintiffs,                 1. TRADEMARK INFRINGEMENT
                                                                                UNDER 15 U.S.C. § 1114;
                           17                    vs.
                                                                             2. UNFAIR COMPETITION IN
                           18   TAYLOR A. SWIFT, an individual,                 VIOLATION OF THE LANHAM
                                TAYLOR NATION, LLC, a                           ACT, 15 U.S.C. § 1125(a);
                           19   Tennessee Limited Liability
                                Company, TAYLOR SWIFT                        3. TRADEMARK DILUTION IN
                           20   PRODUCTIONS, INC., a                            VIOLATION OF THE LANHAM
                                Tennessee Corporation, SWIFT                    ACT, 15 U.S.C. § 1125(c);
                           21   MERCHANDISING, INC., a
                                Tennessee Corporation; TAS                   4. UNFAIR COMPETITION UNDER
                           22   RIGHTS MANAGEMENT, LLC, a                       CALIFORNIA BUSINESS AND
                                Tennessee Limited Liability                     PROFESSIONS CODE §17200;
                           23   Company; and, AMERICAN                          and,
                                GREETINGS CORPORATION, an
                           24   Ohio Corporation,                            5. COMMON LAW
                                                                                MISAPPROPRIATION.
                           25                    Defendants.
                           26
                                                                             JURY TRIAL DEMANDED
                           27

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S TRADLING Y OCCA
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    S A N T A M O N IC A                                   FIRST AMENDED COMPLAINT
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                            1          Plaintiffs, Blue Sphere, Inc. doing business as Lucky 13 and Robert A.
                            2   Kloetzly (“Kloetzly” or “Bobby”; Blue Sphere, Inc., doing business as Lucky 13
                            3   and Kloetzly are collectively referred to herein as “Lucky 13” or “Plaintiffs”) by
                            4   and through their attorneys, hereby allege as follows:
                            5                                  STATEMENT OF THE CASE
                            6          1.      Lucky 13 is a small, individually owned business located in Orange
                            7   County, California that markets and sells LUCKY 13-branded apparel, posters and
                            8   other paper products, has numerous licensees that also market and sell
                            9   LUCKY 13-branded products, and maintains ownership of several Federally
                           10   registered and incontestable LUCKY 13 trademarks for, inter alia, apparel, paper
                           11   products and retail sales. Lucky 13 is active in the local Los Angeles and Orange
                           12   County community, providing time and the little, meager assistance it can afford to
                           13   offer to charitable organizations such as the Orange County Rescue Mission —
                           14   whose mission is “. . . to minister the love of Jesus Christ to the Least, the Last,
                           15   and the Lost” — and the Delancey Street Foundation, which, according to
                           16   The Wall Street Journal, is one of the most successful rehabilitation programs in
                           17   the United States.
                           18          2.       Taylor A. Swift is a highly successful, multi-talented, widely
                           19   respected, and influential international recording artist. Ms. Swift’s management
                           20   team is legendary for its sophistication and business moxie. Upon information and
                           21   belief, in its annual Money Makers list, Billboard magazine recognized Ms. Swift
                           22   as the highest earning musical act for 2013, stating that Swift earned about
                           23   $40 million. See “Music's Top 40 Money Makers 2014: The Rich List,”
                           24   Billboard, March 10, 2014, a copy of which is attached hereto as Ex. A. Swift’s
                           25   net worth is estimated to be at least $200 million.
                           26          3.      American Greetings Corporation (“American Greetings”) was
                           27   founded in 1906 and is the world’s largest greeting card company. American
                           28   Greetings — whose Class A common shares are traded on the New York Stock
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                            1   Exchange (NYSE) under the ticker symbol AM — sells paper greeting cards,
                            2   electronic greeting cards, party products, and electronic expressive content (e.g.,
                            3   ringtones and images for cell phones). American Greetings’ total revenue for its
                            4   most recent fiscal year was $1.97 billion. See, e.g., American Greetings’ Annual
                            5   Report, the relevant portions of which are attached hereto as Ex. B.
                            6          4.      American Greetings maintains a worldwide licensing program, with
                            7   licensees in at least 50 countries. American Greetings’ toy design and licensing
                            8   division includes copyrighted properties such as Strawberry Shortcake, the Care
                            9   Bears, The Get Along Gang, Popples, and Holly Hobbie, as well as Nickelodeon
                           10   characters. On June 17, 2014, American Greetings was named as the owner of the
                           11   most trustworthy e-retail website in the world by the Online Trust Alliance.
                           12          5.      This is a case of “Why You Gotta Be So Mean.” Without first
                           13   obtaining Lucky 13’s written consent or a license from Lucky 13, Taylor Swift
                           14   marketed and sold LUCKY 13 apparel. Furthermore, without first obtaining
                           15   Lucky 13’s written consent or a license from Lucky 13, Taylor Swift and
                           16   American Greetings developed and substantially advertised a “Lucky 13”
                           17   Sweepstakes contest through which they marketed and sold greeting cards through
                           18   the www.taylorswiftcards.com e-retail website. In filing this action, tiny Lucky 13
                           19   is standing up for itself — much like Ms. Swift has done with great vim and vigor
                           20   against the bullies she has encountered in her own life — and seeks to enforce its
                           21   rights in and to the LUCKY 13 trademarks against Ms. Swift and American
                           22   Greetings, both of whom are financial giants.
                           23          6.      When combined, Ms. Swift and American Greetings have a net worth
                           24   of several billion dollars and certainly could have afforded to license the
                           25   LUCKY 13 marks from Lucky 13. While Ms. Swift understood and accepted that,
                           26   for the bullies who confronted her, “all you’re ever going to be is mean,” Lucky 13
                           27   believes that Ms. Swift and American Greetings will do the right thing in this
                           28   matter.
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                            1                                           PARTIES
                            2          7.      Plaintiff Blue Sphere, Inc., doing business as Lucky 13 is, and at all
                            3   times pertinent to this action has been, a corporation duly organized and existing
                            4   under the laws of the State of California, and having its principal place of business
                            5   at 215 Baker Street E, Costa Mesa, California 92626.
                            6          8.      Plaintiff Kloetzly, who is the Chief Executive Officer of Lucky 13, is
                            7   a resident of the State of California, who maintains a place of business at
                            8   215 Baker Street E, Costa Mesa, California 92626.
                            9          9.      On information and belief, Defendant Taylor A. Swift
                           10   (“Taylor Swift”) is a resident of Tennessee, and maintains an address at 173 Inlet
                           11   Drive, Hendersonville, Tennessee 37075-4388.
                           12          10.     On information and belief, Taylor Nation, LLC (“Taylor Nation”) is
                           13   a limited liability company duly organized and existing under the laws of the State
                           14   of Tennessee, with its principal place of business at 2300 Charlotte Avenue,
                           15   Nashville, Tennessee 37203-1859.
                           16          11.     On information and belief, Taylor Swift Productions, Inc. (“Taylor
                           17   Swift Productions”) is a corporation duly organized and existing under the laws of
                           18   the State of Tennessee, with its principal place of business at 718 Thompson Lane,
                           19   Suite 108256, Nashville, Tennessee 37204-3600.
                           20          12.     On information and belief, Swift Merchandising, Inc. (“Swift
                           21   Merchandising”) is a corporation duly organized and existing under the laws of the
                           22   State of Tennessee, with its principal place of business at 718 Thompson Lane,
                           23   Suite 108256, Nashville, Tennessee 37204-3600.
                           24          13.     On information and belief, TAS Rights Management, LLC (“TAS
                           25   Rights Management”; collectively, Taylor Swift, Taylor Nation, Taylor Swift
                           26   Productions, Swift Merchandising, and TAS Rights Management shall be referred
                           27   to as “Swift”) is a limited liability company organized and existing under the laws
                           28
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                            1   of the State of Tennessee, with its principal place of business at 718 Thompson
                            2   Lane, Suite 108256, Nashville, Tennessee 37204-3600.
                            3          14.     On information and belief, American Greetings (collectively, Swift
                            4   and American Greetings shall be referred to as “Defendants”) is a corporation duly
                            5   organized and existing under the laws of the State of Ohio, with its principal place
                            6   of business at One American Road, Cleveland, Ohio, 44144.
                            7                                  JURISDICTION AND VENUE
                            8          15.     This is a civil action arising under the laws of the United States
                            9   relating to trademarks (15 U.S.C. §§ 1114(1), 1125(a) and 1125(c)). This Court
                           10   has federal question jurisdiction over Counts I, II, and III pursuant to 28 U.S.C.
                           11   §§ 1331 and 1338(a)-(b). This Court has supplemental jurisdiction over Counts IV
                           12   and V pursuant to 28 U.S.C. § 1367.
                           13          16.     This Court has personal jurisdiction over Taylor Swift because she has
                           14   done and continues to do substantial business in this judicial district — including
                           15   performing at STAPLES Center in Los Angeles on August 19, 2013 and
                           16   August 20, 2013, as part of her RED Tour — and has committed acts of trademark
                           17   infringement, and other acts complained of herein, in this judicial district.
                           18          17.     This Court has personal jurisdiction over Taylor Nation because
                           19   Taylor Nation has done and continues to do substantial business in this judicial
                           20   district and has committed acts of trademark infringement, and other acts
                           21   complained of herein, in this judicial district.
                           22          18.     This Court has personal jurisdiction over Taylor Swift Productions
                           23   because Taylor Swift Productions has done and continues to do substantial
                           24   business in this judicial district and has committed acts of trademark infringement,
                           25   and other acts complained of herein, in this judicial district.
                           26          19.     This Court has personal jurisdiction over Swift Merchandising
                           27   because Swift Merchandising has done and continues to do substantial business in
                           28
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                            1   this judicial district and has committed acts of trademark infringement, and other
                            2   acts complained of herein, in this judicial district.
                            3          20.     This Court has personal jurisdiction over TAS Rights Management
                            4   because TAS Rights Management has done and continues to do substantial
                            5   business in this judicial district and has committed acts of trademark infringement,
                            6   and other acts complained of herein, in this judicial district.
                            7          21.     This Court has personal jurisdiction over American Greetings because
                            8   American Greetings has done and continues to do substantial business in this
                            9   judicial district and has committed acts of trademark infringement, and other acts
                           10   complained of herein, in this judicial district.
                           11          22.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391
                           12   (b)-(c) and 1400(b). The acts and transactions complained of herein were
                           13   conceived, carried out, made effective, and had an effect within the State of
                           14   California and within this judicial district.
                           15                                   NATURE OF THE ACTION
                           16          23.     In this action, Lucky 13 seeks injunctive relief, Defendants’ profits,
                           17   Plaintiffs’ lost profits and damages, punitive damages, and attorneys’ fees, for
                           18   Defendants’ acts of trademark infringement under 15 U.S.C. § 1114 et seq., unfair
                           19   competition and false designation of origin under 15 U.S.C. § 1125(a), trademark
                           20   dilution under 15 U.S.C. § 1125(c), unfair competition under Cal. Bus. & Prof.
                           21   Code § 17200 et seq., and common law misappropriation.
                           22                                   FACTUAL ALLEGATIONS
                           23          24.     Lucky 13 is a small, individually owned company. Lucky 13’s owner,
                           24   Bobby Kloetzly, grew up on the shores of Huntington Beach, California, surfing,
                           25   riding motorcycles up and down Pacific Coast Highway, attending the Orange
                           26   County Fair, and going to concerts given by such notable musicians as Mike Ness
                           27   and Social Distortion, Black Flag, and Billy Zoom and John Doe’s group, X. See
                           28
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                            1   generally, “Lucky 13’s still rockin’ after two decades,” Orange County Register,
                            2   August 30, 2011, a copy of which is attached hereto as Ex. C.
                            3           25.    In the late 1980s, Bobby worked under the tutelage of several
                            4   successful entrepreneurs in the apparel industry, where he made multiple
                            5   connections and gained detailed knowledge of the lifestyle brand scene, including
                            6   how to own and operate a successful lifestyle business.
                            7           26.    In 1991, with the blessing, encouragement and support of his myriad
                            8   business connections, Bobby ventured out to form Lucky 13. In its twenty-three
                            9   years of business operations, Lucky 13 has built up extensive and valuable
                           10   business and goodwill in connection with the marketing and sale of its
                           11   LUCKY 13® goods throughout the world.
                           12                  Lucky 13’s Marketing and Sale of LUCKY 13® Goods
                           13           27.    Lucky 13 is the owner of the trademark LUCKY 13®, which has been
                           14   used in connection with the marketing and sale of, inter alia, (1) clothing for men
                           15   and women, namely, t-shirts, jackets, headwear and footwear; (2) jewelry;
                           16   (3) body sprays and pomade; (4) license plates, license plate holders, key chains,
                           17   and vehicle seat and steering wheel covers; (5) motorcycle helmets; and, (6) paper
                           18   products, including desk calendars (collectively, the “LUCKY 13® Goods”).
                           19           28.    Since at least as early as May 7, 1992, Lucky 13 has invested and
                           20   continues to invest substantial time, money, and effort in promoting and
                           21   advertising its LUCKY 13® Goods in United States commerce, including through
                           22   its commercial Internet website, www.Lucky13.com, which is depicted on the next
                           23   page.
                           24   ///
                           25   ///
                           26   ///
                           27   ///
                           28
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                           14          29.     Lucky 13 also has marketed and sold the LUCKY 13® Goods in
                           15   Argentina, Australia, Brazil, Canada, China, the European Union, Hong Kong,
                           16   Hungary, Japan, New Zealand, Panama, South Africa, Taiwan, Thailand, and
                           17   Uruguay for several years.
                           18          30.     Lucky 13, as a result of its extensive worldwide marketing,
                           19   advertising and sale of LUCKY 13® Goods, has built and continues to enjoy
                           20   significant consumer goodwill associated with its LUCKY 13® trademarks.
                           21          31.     Lucky 13 and its licensing partners have sold a significant amount of
                           22   LUCKY 13® branded goods in the United States and worldwide. In fact, for the
                           23   past decade, Lucky 13 has earned several million dollars per year from its
                           24   worldwide marketing and sale of the LUCKY 13® Goods through its own sales
                           25   and the sales of its licensees. As such, Lucky 13’s consumers have come to
                           26   associate Lucky 13 as the source of LUCKY13® consumer goods. For instance,
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                            1   consumers can search for the term “Lucky 13” on the Google search engine for
                            2   “Web” — the first search result is for LUCKY 13® goods, as depicted below.
                            3

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                           11          32.     In addition, consumers can search for “Lucky 13” on the Google
                           12   search engine for “Images” — the majority of the search results are for
                           13   LUCKY 13® consumer goods, as depicted below.
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                           25      Lucky 13’s Ownership of LUCKY 13® Trademarks in the United States
                           26          33.     Lucky 13 is the owner of several Federally registered and
                           27   incontestable United States trademarks for LUCKY 13®, including,
                           28
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                            1              a.      United States Trademark Registration No. 2,970,316 for the
                            2      mark LUCKY 13 in International Classification 18 for “Athletic bags,
                            3      backpacks, beach bags, book bags, carry-on bags, duffel bags, gym bags,
                            4      school bags, shoulder bags, sports bags, tote bags, travel bags, hand bags,
                            5      billfold, day packs, pocketbooks, purses, wallets,” and International
                            6      Classification 26 for “Belt Buckles not of precious metal”;
                            7              b.      United States Trademark Registration No. 2,974,104 for the
                            8      mark LUCKY 13 in International Classification 12 for “Hitch plugs, license
                            9      plate holders, vehicle seat covers, automobile seat belt shoulder pads,
                           10      steering wheel covers”;
                           11              c.      United States Trademark Registration No. 3,022,964 for the
                           12      mark LUCKY 13 in International Classification 06 for “Metal key chains,
                           13      metal key holders, metal key rings, metal money clips, metal license plates”;
                           14      International Classification 16 for “Bags for merchandise packaging namely
                           15      plastic and paper, bumper stickers, calendars, organizers for stationary use,
                           16      decals, desk calendars, paper emblems, printed emblems, graphics for
                           17      application to automobiles, litter bags, merchandising bags, plastic bags,
                           18      stickers, temporary tattoos”; and, International Classification 21 for
                           19      “Beverage glassware, bottle openers, candle holders not of precious metal,
                           20      candlesticks not of precious metal, coffee cups, drinking glasses, shot
                           21      glasses, flasks, hair combs, mugs, plastic cups, plastic coasters, rubber
                           22      coasters, and travel tumblers”;
                           23              d.      United States Trademark Registration No. 3,207,294 for the
                           24      mark LUCKY 13 in International Classification 25 for “Clothing and
                           25      footwear for men and women, namely, athletic shoes, athletic sports suits,
                           26      belts, blouses, body suits, cardigans, coats, dresses, gowns, gloves, gym
                           27      suits, hats, jackets, jeans, jogging suits, overalls; pants, namely, capri pants,
                           28      chino pants, work pants; shirts namely, polo shirts, jersey shirts, diner shirts,
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                            1      bowling shirts, flannel shirts, sport shirts; shoes, shorts, namely, board
                            2      shorts, chino shorts, walking shorts, hiking shorts; skirts, sleepwear,
                            3      slippers, sneakers, suspenders, sweaters, sweatshirts, swimwear, tops,
                            4      T-shirts, warm-up suits, beach clothes and surf wear, namely, board shorts,
                            5      camisole tops, midriff tops, pants, skirts, sweatshirts, sweat pants, tank tops,
                            6      tie tops; vests, sweaters, sandals, head wear, namely, caps, hats”; and,
                            7      International Classification 35 for “Retail store services and on-line retail
                            8      services available via the Internet in the field of electrical goods, lamps,
                            9      optical goods and sunglasses, CDs, records and video tapes, jewelry,
                           10      stationery, printed publications and printed matter, cards, gift wrap,
                           11      furniture, furnishings and decorations, bed and table linen, comforters,
                           12      towels, clothing, footwear, headgear, playthings sporting goods and
                           13      accessories, namely, belt buckles, candles, clocks, coaster sets, gear bags,
                           14      lighters, posters”; and,
                           15                e.      United States Trademark Registration No. 3,250,642 for the
                           16      mark LUCKY 13 in International Classification 14 for “body-piercing rings,
                           17      body-piercing studs, bracelets, charms, chokers, costume jewelry, earrings,
                           18      ear studs, ear plug earrings, jewelry, navel rings, necklaces, pendants.”
                           19      Copies of the aforementioned Federally registered and incontestable
                           20      LUCKY 13 trademarks are attached hereto as Exs. D through H.
                           21          34.        Lucky 13 is the owner of United States Trademark Registration
                           22   No. 3,623,660 for LUCKY 13 in International Classification 03 for “Body sprays;
                           23   Greases for cosmetic purposes; Hair care creams; Hair creams; Hair gels; Hair
                           24   pomades; Hair shampoo; Hair styling gel; Mustache wax; Perfumed creams;
                           25   Pomades; Sculpting gel; Styling gels; Gel for molding hair”.
                           26          35.        Lucky 13 is the owner of United States Trademark Application
                           27   No. 85/814,077 for 13 in International Classification 09 for “Motorcycle helmets;
                           28   Protective helmets; Riding helmets”.
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                            1          36.     Lucky 13 is the owner of additional trademark applications and
                            2   registrations throughout the world for LUCKY 13®. A Schedule of Lucky 13’s
                            3   relevant trademark portfolio is attached hereto as Ex. I.
                            4                 Lucky 13’s Licensing Program for LUCKY 13® Goods
                            5          37.     Lucky 13 has a sophisticated licensing program for the marketing and
                            6   sale of LUCKY 13® goods. It has entered into numerous licensing agreements
                            7   with parties in the United States and throughout the world. Lucky 13 has
                            8   numerous past and current licensing partners, each of which market and sell
                            9   LUCKY 13® Goods, including but not limited to apparel, motorcycle helmets, and
                           10   sunglasses. Each of these licensing partners pay a negotiated royalty payment to
                           11   Lucky 13, depending upon the licensed LUCKY 13® product, relevant market, and
                           12   other economic factors.
                           13          38.     Because of Lucky 13’s and its licensing partners’ extensive use and
                           14   promotion of the LUCKY 13® trademarks, LUCKY 13® has become distinctive,
                           15   has acquired secondary meaning in the relevant consumer marketplace, and
                           16   identifies Lucky 13 as the single source of origin for LUCKY 13® Goods. Indeed,
                           17   LUCKY 13® is a famous trademark.
                           18          39.     As such, Lucky 13 has developed and maintains a trademark
                           19   protection program, whereupon it seeks to stop the unauthorized and non-licensed
                           20   use of its LUCKY 13® trademarks. As part of this program, it sends “cease and
                           21   desist” letters and files litigation when its initial attempts to resolve matters are not
                           22   successful.
                           23            Swift’s Unauthorized Marketing and Sale of “Lucky 13” Goods
                           24          40.     Lucky 13 has not authorized Defendants to manufacture, distribute,
                           25   advertise, or sell the “Lucky 13” apparel or related goods.
                           26          41.     Upon information and belief, on or about March 1, 2012, which is
                           27   about twenty (20) years after Lucky 13 first used its LUCKY 13® trademarks for
                           28   the marketing and sale of its LUCKY 13® Goods, Swift began using the term
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                            1   “Lucky 13” to continuously market and sell apparel on the www.taylorswift.com
                            2   website, without requesting permission or otherwise securing a license from
                            3   Lucky 13. See the usage depiction below.
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                           16          42.     Upon information and belief, Swift’s “Lucky 13” apparel is further
                           17   marketed and sold by additional vendors, including www.Polyvore.com, as
                           18   depicted below.
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S TRADLING Y OCCA                                                            -12-
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                            1          43.     Upon information and belief, Taylor Swift has about 41 million
                            2   Twitter followers. Swift also has used social media to market and promote its
                            3   “Lucky 13” products, as depicted below.
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                           17           Swift and American Greetings’ Unauthorized Use of “Lucky 13”
                           18                              to Market and Sell Greeting Cards
                           19          44.     Upon information and belief, beginning at least as early as
                           20   November 17, 2009, Swift and American Greetings partnered together to create
                           21   Taylor Swift Greeting Cards. From www.taylorswiftcards.com, “Taylor Swift
                           22   Greeting Cards is a mobile app that allows you to select, personalize, and send
                           23   digital versions of real Taylor Swift greeting cards from your device to your
                           24   recipient via text message, email, twitter, or posting to their Facebook page.” In
                           25   addition, Swift and American Greetings also market and sell traditional Taylor
                           26   Swift paper cards. From http://store.taylorswift.com/Greeting-Cards-Box-
                           27   Set.html,
                           28
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                            1            “Get 13 of the best Taylor Swift greeting cards from the American
                                         Greetings selection in this card box set! Features 13 different Taylor
                            2            Swift cards for multiple occasions: (6) Birthday cards, (4) Friendship
                            3            cards and (3) Romantic cards. The perfect addition to your Taylor
                                         collection at the perfect price! . . . Price: $19.99.” (Emphasis added.)
                            4

                            5            45.   Upon information and belief, also beginning at least as early as
                            6   March 13, 2013, Swift and American Greetings used “Lucky 13” to market and
                            7   sell greeting cards, through the sponsorship of the “Lucky 13” Sweepstakes contest
                            8   through at least the www.taylorswiftcards.com website, without authorization or
                            9   seeking a license from Lucky 13, in further infringement of Lucky 13’s Federally
                           10   registered and incontestable LUCKY 13® trademarks.
                           11            46.   Pursuant to the “Lucky 13” Sweepstakes Official Rules, the contest
                           12   consists of thirteen (13) separate entry periods whereby contestants, through use of
                           13   either through the Taylor Swift Mobile Greeting Card Application or through the
                           14   www.taylorswiftcards.com website, could enter the “Lucky 13” Sweepstakes to
                           15   win a Weekly Prize or a Grand Prize. For a depiction of the “Lucky 13”
                           16   Sweepstakes offering on the www.taylorswiftcards.com website, see below and the
                           17   next page; see also Ex. J, which is a copy of the “Lucky 13” Sweepstakes Official
                           18   Rules.
                           19

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                           16          47.        Upon information and belief, the Weekly Prize and the Grand Prize
                           17   consisted of the following,
                           18                a.      For the Weekly Prize, each of the thirteen (13) “Lucky 13”
                           19      winners were to receive: a Taylor Swift-branded T-Shirt; two “RED”-branded
                           20      drawstring backpacks; a branded grey rubber bracelet; two branded red rubber
                           21      bracelets; a Taylor Swift poster; two 2013 branded locker calendars; one
                           22      branded guitar pick pack; one large branded spiral notebook; and, two small
                           23      branded spiral notebooks; see, e.g., Ex. J; and,
                           24                b.      For the Grand Prize, the winner was to receive,
                           25          “A trip for the Grand Prize winner and up to three (3) guests to Nashville,
                           26
                                       Tennessee for Taylor Swift’s Red Concert on September 21, 2013.
                                       Grand Prize includes: Round-trip, coach-class airfare for the winner and
                           27          up to three (3) guests to Nashville, Tennessee from an airport determined
                                       at the sole discretion of the Sponsor . . . The Approximate Retail Value
                           28          . . . of the Grand Prize is $12,933.21.” See id.
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                            1          48.        Upon information and belief, several media outlets provided and
                            2   continue to provide information concerning the American Greetings and Taylor
                            3   Swift “Lucky 13” Sweepstakes, including but limited to,
                            4                a.      About.com, wherein this internet website states,
                            5          “American Greetings and Taylor Swift - Lucky 13 Sweepstakes. . . .
                            6
                                       Enter American Greetings and Taylor Swift's Lucky 13 Sweepstakes
                                       and you could win a trip for four to Nashville, Tennessee for a Taylor
                            7          Swift concert or weekly prizes of a selection of Taylor Swift branded
                                       stuff worth about $117 each.” See www.contests.about.com, a copy of
                            8          which is attached hereto as Ex. K;
                            9                b.      I Love Giveaways, wherein this internet website states,
                           10          “American Greetings and Taylor Swift's Lucky 13 Sweepstakes. . . .
                           11
                                       Enter for your chance to win the Grand Prize of a trip to Nashville to
                                       see Taylor Swift's final stop on The RED Tour! Plus, 13 Weekly Prize
                           12          Winners will win Taylor Swift prize packages containing t-shirts,
                                       bracelets, posters and much more!” See www.ilovegiveaways.com, a
                           13          copy of which is attached hereto as Ex. L;
                           14

                           15                c.      Infinite Sweeps, wherein this internet website stated,
                           16          “AMERICAN GREETINGS AND TAYLOR SWIFT'S LUCKY 13
                           17
                                       SWEEPSTAKES . . . They're sending one Grand Prize winner to
                                       Nashville to see the final stop on The RED Tour. . . . We’re talking
                           18          airplane + hotel + concert tickets + spending money. . . .” See
                                       www.infinitesweeps.com, a copy of which is attached hereto as Ex. M;
                           19

                           20                d.      Slick Deals, wherein this internet website stated,
                           21          “To enter the Sweepstakes via the Taylor Swift Mobile Greeting Card
                                       App, you must download the free . . . Application . . . .” See
                           22
                                       www.slickdeals.net, a copy of which is attached hereto as Ex. N
                           23          (emphasis added);
                           24
                                             e.      Sweepstakes Fanatics, wherein this internet website stated,
                           25

                           26          “Enter the American Greetings and Taylor Swift’s ‘Lucky 13’
                                       Sweepstakes for a chance to win a 2-night trip for four to Nashville,
                           27          Tennessee to attend Taylor Swift’s Red Concert! . . . .” See
                                       www.sweepstakesfanatics.com, a copy of which is attached hereto as
                           28          Ex. O; and,
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                            1                f.      Ultra Contest, wherein this internet website states,
                            2          “American Greetings - Taylor Swift Lucky 13 Sweepstakes . . . . One
                            3
                                       Grand Prize Winner in the American Greetings ‘Taylor Swift Lucky
                                       13 Sweepstakes’ will win a trip for 4 to see Taylor Swift’s Red
                            4          Concert in Nashville, Tennessee.” See www.ultracontest.com, a copy
                                       of which is attached hereto as Ex. P.
                            5

                            6          49.        Upon information and belief, Defendants’ conduct has been and will
                            7   continue to be malicious, fraudulent, deliberate, willful, intentional, and in
                            8   disregard of Plaintiffs’ intellectual property rights.
                            9           Swift’s and American Greetings’ Extensive Trademark Portfolios
                           10          50.        Swift has filed about sixty United States Federal trademark
                           11   applications, including but not limited to the following marks:
                           12                a.      United States Trademark Registration No. 3,439,210 for the
                           13      mark TAYLOR SWIFT in International Classification 25 for “Clothing,
                           14      namely, shirts, T-shirts, sweatshirts, jerseys, hats and caps”;
                           15                b.      United States Trademark Registration No. 3,809,272 for the
                           16      mark TAYLOR SWIFT (and design) in International Classification 35 for
                           17      “On-line retail store services featuring audio recordings, video recordings,
                           18      printed publications, printed materials, clothing, collectibles, memorabilia,
                           19      and a wide variety of products related to a musical artist”;
                           20                c.      United States Trademark Registration No. 3,809,274 for the
                           21      mark TAYLOR SWIFT (and design) in International Classification 25 for
                           22      “Clothing, namely, bandanas, caps, hats, hooded pullovers, hooded sweat
                           23      shirts, sweat shirts, pants, and t-shirts”;
                           24                d.      United States Trademark Registration No. 4,102,010 for the
                           25      mark SPEAK NOW in International Classification 25 for “Clothing, namely,
                           26      casual clothing, namely, tops for men, women, and children; Shirts; T-shirts;
                           27      Headwear; Caps; Hats; Gloves; Scarves”;
                           28
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                            1                e.      United States Trademark Registration No. 4,420,958 for the
                            2      mark TAYLOR SWIFT in International Classification 25 for “Footwear”;
                            3                f.      United States Trademark Application No. 77/734,586 for the
                            4      mark FEARLESS in International Classification 25 for “Clothing, namely,
                            5      dresses, hooded pullovers, hooded sweat shirts, jackets, jerseys, sweat shirts,
                            6      pants and jeans, and hats, caps, bandanas, t-shirts and sweaters sold or
                            7      distributed in connection with Applicant's live musical performances and
                            8      musical sound recordings”;
                            9                g.      United States Trademark Application No. 85/121,390 for the
                           10      mark SWIFT (and design) in International Classification 25 for “Clothing,
                           11      namely, shirts, t-shirts, jerseys, sweatshirts, pants, sweatpants, shorts;
                           12      Headwear; Caps; Hats; Visors; Bandanas; Gloves; Scarves; Footwear;
                           13      Hosiery”;
                           14                h.      United States Trademark Application No. 85/121,393 for the
                           15      mark TS (and design) in International Classification 25 for “Clothing,
                           16      namely, shirts, t-shirts, jerseys, sweatshirts, pants, sweatpants, shorts;
                           17      headwear; caps; hats; visors; bandanas; gloves; scarves; footwear; hosiery”;
                           18      and,
                           19                i.      United States Trademark Application No. 85/168,908 for the
                           20      mark TAYLOR SWIFT FEARLESS in International Classification 25 for
                           21      “Clothing, namely, shirts, jerseys, t-shirts, sweatshirts; Head wear; Caps.”
                           22          51.        Upon information and belief, American Greetings maintains its own
                           23   trademark legal department. Since its inception in 1906, American Greetings has
                           24   filed more than 1,000 United States Federal trademark applications, including but
                           25   not limited to the following marks:
                           26                a.      United States Trademark Registration No. 728,862 for the mark
                           27      AMERICARD in International Classification 16 for “Greeting Cards”;
                           28
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                            1              b.      United States Trademark Registration No. 871,354 for the mark
                            2      HOLLY HOBBIE in International Classification 16 for “Greeting Cards”;
                            3              c.      United States Trademark Registration No. 1,117,262 for the mark
                            4      STRAWBERRY SHORTCAKE in International Classification 16 for “Greeting
                            5      cards”;
                            6              d.      United States Trademark Registration No. 1,267,116 for the mark
                            7      STRAWBERRY SHORTCAKE in International Classification 16 for “Gift
                            8      wrapping paper”;
                            9              e.      United States Trademark Registration No. 1,270,509 for the mark
                           10      CARE BEARS in International Classification 16 for “Greeting cards”;
                           11              f.      United States Trademark Registration No. 2,305,057 for the mark
                           12      AMERICAN GREETINGS in International Classification 35 for “Retail store
                           13      services featuring greeting cards and related gift items provided via global
                           14      computer network”, and International Classification 42 for “Computer services,
                           15      namely, interactive personalization of greeting cards and gifts via global
                           16      computer network”;
                           17              g.      United States Trademark Registration No. 2,547,461 for the mark
                           18      TROLL AND TOAD in International Classification 35 for “Mail Order Catalog
                           19      Services Featuring Games”; and,
                           20              h.      United States Trademark Registration No. 3,819,802 for the mark
                           21      AGINTERACTIVE in International Classification 09 for “Providing a website
                           22      featuring downloadable software for screensavers, browser skins, desktop
                           23      wallpaper, emoticons, stationery, and clip-art”, in International Classification
                           24      38 for, “Wireless communications services, namely, transmission of graphics,
                           25      text, and ring tones to mobile telephones; Instant messaging services; and
                           26      delivery of personalized greeting cards to others via electronic mail,” and in
                           27      International Classification 41 for “Entertainment services, namely, providing a
                           28      web site featuring, electronic greeting cards.”
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                            1          52.     Upon information and belief, while Swift and American Greetings
                            2   filed the above applications, they did not file any Federal trademark applications
                            3   for “Lucky 13” in International Classification 16 for paper products, International
                            4   Classification 25 for apparel, or International Classification 35 for the retail sale of
                            5   LUCKY 13® apparel, or for use on or in conjunction with any other goods or
                            6   services. This is because, upon Lucky 13’s belief, they likely knew that such
                            7   applications would not register — due to (a) Lucky 13’s earlier first use of the
                            8   LUCKY 13® trademarks in United States commerce, as well as (b) the existence
                            9   of Lucky 13’s Federally registered and incontestable LUCKY 13® trademarks in
                           10   each of these international classifications.
                           11                    Swift’s and American Greetings’ Business Empires
                           12          53.     Upon information and belief, Swift has numerous business and
                           13   licensing partners, each of whom is a licensee or sponsor of Swift, or whom Swift
                           14   endorses. These business partners include, but are not limited to, AirAsia Berhad,
                           15   the aforementioned American Greetings, Coca-Cola, Cornetto, Cover Girl,
                           16   Elizabeth Arden, Keds, Papa John’s Pizza, and Toyota.
                           17          54.      Billboard magazine recognized Swift as the highest earning musical
                           18   act for 2013, stating that Swift earned about $40 million. See, e.g., Ex. A. Upon
                           19   information and belief, in total, Swift has sold at least 26 million albums and over
                           20   75 million digital downloads worldwide under the Taylor Swift trademarks.
                           21          55.     Upon information and belief, American Greetings’ major domestic
                           22   greeting card brands are American Greetings, Recycled Paper Greetings, Papyrus,
                           23   Carlton Cards, Gibson, Tender Thoughts, and Just For You. From American
                           24   Greetings’ most recent Annual Report,
                           25          Our other domestic products include AGI In-Store display fixtures, as
                                       well as other paper product offerings such as Design Ware party goods
                           26          and Plus Mark gift wrap and boxed cards. Electronic greetings and
                                       other digital content, services and products are available through our
                           27          subsidiary, AG Interactive, Inc. Our major Internet brands are
                                       AmericanGreetings.com, BlueMountain.com and Cardstore.com. We
                           28          also create and license our intellectual properties, such as the “Care
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                            1          Bears” and “Strawberry Shortcake” characters. . . . Our international
                                       operations include wholly-owned subsidiaries in the United Kingdom
                            2          [UK], Canada, Australia and New Zealand as well as licensees in
                                       approximately 50 other countries. As of February 28, 2014, we also
                            3          operated 396 card and gift retail stores throughout the UK. See, supra,
                                       Ex. B at 2, 23.
                            4

                            5          56.     American Greetings, concerning its worldwide licensing program,
                            6   further states as follows within its most recent Annual Report,
                            7          The Corporation has agreements for licensing the Care Bears and
                                       Strawberry Shortcake characters and other intellectual property.
                            8          These license agreements provide for royalty revenue to the
                                       Corporation based on a percentage of net sales and are subject to
                            9          certain guaranteed minimum royalties. These license agreements may
                                       include the receipt of upfront advances, which are . . . earned during
                           10          the period of the agreement. Certain of these agreements are managed
                                       by outside agents. All payments flow through the agents prior to
                           11          being remitted to the Corporation. Typically, the Corporation receives
                                       monthly payments from the agents. See id at 56.
                           12

                           13          57.     Upon information and belief, on June 17, 2014, American Greetings
                           14   topped the list of the most-trustworthy retail websites, according to the Online
                           15   Trust Alliance’s annual Online Trust Audit & Honor Roll (the “Honor Roll”). See
                           16   Ex. Q at 26, which is a copy of the Honor Roll. The Honor Roll — which
                           17   conducts its examination based on a website’s data protection, security, and
                           18   privacy policies and practices that comply with industry norms — examined the
                           19   brand protection, security and privacy protection practices of more than 800
                           20   websites. See id. at 4. American Greetings’ website was named the best online
                           21   retailer and e-commerce site. See id. at 7.
                           22         Swift’s Intellectual Property Knowledge and Enforcement Activity
                           23          58.     There can be no doubt that Swift — who has an extensive trademark
                           24   portfolio and numerous business and licensing partners, and whose record label is
                           25   even named the “Big Machine” — knows, understands and substantially profits
                           26   from her carefully cultivated and meticulously managed trademarks and brand,
                           27   image, and other intellectual property.
                           28
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                            1          59.        As Swift has claimed in previous court filings in which she seeks to
                            2   protect her trademarks, intellectual property protection is the backbone of her
                            3   success, including for her copyright-protected musical compositions, trademark-
                            4   protected brands and her overall image and likeness. Swift previously has filed
                            5   Federal litigation seeking to protect her intellectual property rights. See, e.g.,
                            6   Taylor Swift v. Malcolm Matthews, et al., Case No. 09-cv-00442 (M.D. Tenn.
                            7   2009) (the “First Swift Trademark Action”); see, also, TAS Rights Management,
                            8   LLC v. Various John Does et al., Case No. 11-cv-00477 (M.D. Tenn. 2011) (the
                            9   “Second Swift Trademark Action”); and, TAS Rights Management, LLC v. Various
                           10   John Does, et al., Case No. 13-cv-00170 (M.D. Tenn. 2013) (the “Third Swift
                           11   Trademark Action”). Each of these cases is discussed below.
                           12                a.      In the First Swift Trademark Action, a copy of which is attached
                           13      hereto as Ex. R, Taylor Swift claims,
                           14          [M]erchandise bearing [Taylor Swift’s] trademarks and likeness has been
                                       made available for purchase to the public, by [Taylor Swift] and her
                           15          authorized vendors. . . . [Taylor Swift] has advertised and sold such
                           16
                                       merchandise since as early as October 2000. . . . Merchandise being
                                       offered by [Taylor Swift] . . . includes hooded shirts, posters . . . and,
                           17          most prominently, tee-shirts. . . . A variety of merchandise bearing
                                       [Taylor Swift’s] trademarks is also available in retail stores nationwide,
                           18          pursuant to [Taylor Swift’s] licensing agreements. [Taylor Swift]
                                       carefully limits such agreements . . . and maintains complete control over
                           19          the manner in which [Taylor Swift’s] Trademarks are used and [Taylor
                                       Swift’s] name and likeness are represented. (Emphasis added.) See
                           20          Ex. R at Paragraph Nos. 17, 18, 21 and 22.
                           21                b.      In the Second Swift Trademark Action, a copy of which is
                           22      attached hereto as Ex. S, TAS Rights Management claims,
                           23
                                       Ms. Swift is an internationally recognized singer-songwriter, musician
                           24          and actress. . . . Ms. Swift provides and promotes products and services
                                       to the public in association with her name, Taylor Swift, which also
                           25          functions as a trademark, used in an unstylized, literal form – “Taylor
                                       Swift,” and in the stylized, “logo” form . . . . At all times relevant hereto,
                           26          Ms. Swift and/or her licensees maintained exclusive rights in and control
                                       of the Taylor Swift Trademarks, which have and continue to be used
                           27          extensively in the United States and throughout the world. (Emphasis
                                       added.) See Ex. S at Paragraph Nos. 7, 8 and 16.
                           28
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                            1                c.      In the Third Swift Trademark Action, Swift’s trademark legal
                            2      team made the identical claims as in the Second Swift Trademark Action. See
                            3      Ex. T, which is a copy of the Complaint in the Third Swift Trademark Action,
                            4      also at Paragraph Nos. 7, 8 and 16.
                            5          60.        While Swift’s merchandising and licensing team obsessively focuses
                            6   on the Swift brand, it ignores the intellectual property rights of others. Upon
                            7   information and belief, since at least as early as March 1, 2012, Swift has marketed
                            8   and sold “Lucky 13” apparel, as well as offered “Lucky 13” greeting card-themed
                            9   contests, all without seeking permission or otherwise securing a license from
                           10   Lucky 13 — which itself has an extensive licensing program. There can be no
                           11   doubt that Swift fully understands that marketing and selling another’s goods
                           12   without securing a license or permission is not acceptable and cannot be allowed.
                           13          61.        Upon information and belief, the “Lucky 13” apparel that has been
                           14   marketed and sold by Swift is a popular item that is in high demand.
                           15          62.        Swift’s infringement of Lucky 13’s Federally registered and
                           16   incontestable LUCKY 13® trademarks is clear-cut. Lucky 13 is concerned that
                           17   Swift’s past use and any future use of the term “Lucky 13” to market and sell
                           18   apparel and related products is likely to cause and will continue to cause confusion
                           19   with and dilute the significant value of Lucky 13’s Federally registered and
                           20   incontestable LUCKY 13® trademarks.
                           21          63.        Swift’s unauthorized use and continued use in interstate commerce of
                           22   “Lucky 13” for apparel and other products is identical in nature to Lucky 13’s
                           23   marketing and sale of the LUCKY 13® Goods. This is because Lucky 13’s
                           24   LUCKY 13® Goods and Swift’s “Lucky 13” apparel and related products are
                           25   marketed and sold in the same distribution channels and for a similar price.
                           26          64.        Ms. Swift was born on December 13, 1989. Ms. Swift released her
                           27   first album, Taylor Swift, in 2006 when she was just sixteen (16) years old, and
                           28   toured in support of that album. Since that time, Ms. Swift — like a hit making,
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                            1   ever-present Big Machine that is a permanent part of today’s pop culture — has
                            2   released an album every other October or November. These albums include
                            3   Fearless (2008), Speak Now (2010), and Red (2012). Each album has been more
                            4   highly anticipated than its predecessor, and has demonstrated Ms. Swift’s maturity
                            5   in her writing and its musical content.
                            6          65.     Upon Lucky 13’s belief, Ms. Swift’s next album will be released
                            7   within the next several months, in time for her 25th birthday. Upon information and
                            8   belief, since she is now in her mid-twenties, Ms. Swift — as she should, so as to
                            9   capitalize on her maturing fan base — is trying to create a more adult-themed
                           10   image, to match her now older consumer demographic.
                           11          66.     In her latest marketing image and a recent music video, Ms. Swift —
                           12   who has been photographed with permanent or temporary tattoos and markets
                           13   herself as liking fast cars and dangerous men who drive them inappropriately, as
                           14   demonstrated by her I Knew You Were Trouble music video — undeniably and
                           15   squarely markets to and now fits within the exact consumer demographic to whom
                           16   Lucky 13 markets and sells its LUCKY 13® Goods. Screen shots of Ms. Swift’s
                           17   I Knew You Were Trouble music video, as well as her permanent or temporary
                           18   artwork, which includes the number thirteen (13) on her right hand, are depicted
                           19   below and on the next page.
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                           18          67.     While Lucky 13 does not market its LUCKY 13®-branded goods to
                           19   tweens and younger teens, and is not interested in marketing its goods to these
                           20   consumers, a substantial majority of Swift’s more mature, adult followers fit within
                           21   Lucky 13’s target consumer demographic. In fact, the screen shot of the
                           22   LUCKY 13® website at Paragraph No. 28, supra, and the screen shots of Taylor
                           23   Swift’s I Knew You Were Trouble music video and tattoos that appear on the prior
                           24   page at Paragraph No. 66, also supra, are similar and could be part of the same
                           25   LUCKY 13® marketing campaign — the marketing imagery depicts stylish,
                           26   attractive, tattooed individuals in provocative situations.
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                            1          68.     Swift has caused and is likely to cause confusion, mistake or
                            2   deception (a) as to the characteristics, qualities or origin of Lucky 13’s
                            3   LUCKY 13® Goods, (b) as to an affiliation, connection or association between
                            4   Lucky 13 and Swift, and (c) as to the sponsorship or approval of Swift’s
                            5   “Lucky 13” apparel by Lucky 13.
                            6                American Greetings’ Intellectual Property Knowledge and
                            7                                      Enforcement Activity
                            8          69.     There can be no doubt that American Greetings — which has an
                            9   extensive trademark portfolio and worldwide business and licensing partners for
                           10   such properties as CARE BEARS, HOLLY HOBBIE, and STRAWBERRY
                           11   SHORTCAKE, and with the public trust and confidence its e-retail website
                           12   inspires — knows, understands and substantially profits from its carefully
                           13   cultivated and meticulously managed trademarks and other intellectual property.
                           14          70.     Like Swift, American Greetings takes the protection of its trademarks
                           15   and other intellectual property very seriously, as evidenced in its prior Federal
                           16   court filings. For example, American Greetings filed trademark claims in
                           17   Parillo v. Am. Greetings Corp., Case No.6:02-cv-00796 (M.D. Fla. 2002), a copy
                           18   of which is attached hereto as Ex. U. In that action, American Greetings claimed
                           19   that it had “invested substantial time, effort and money advertising and promoting
                           20   the Strawberry Shortcake® mark and line of characters” and that “[t]he pattern of
                           21   filing numerous Federal trademarks for Strawberry Shortcake® since 1978, as well
                           22   as continually using and/or licensing Strawberry Shortcake® since the date of her
                           23   inception, evidences American Greetings [sic] intent to protect its valuable, famous
                           24   and incontestable mark.” See Ex. U at Paragraphs 19 and 24.
                           25          71.     Thus, American Greetings claimed that the defendant “has sought
                           26   improperly to capitalize on American Greetings’ investment in the creation and
                           27   positive reputation of the Strawberry Shortcake® mark, and the resulting
                           28   popularity that Strawberry Shortcake® has attained.” See id. at Paragraph 38.
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                            1            72.   While American Greetings’ merchandising and licensing team focuses
                            2   on its myriad brands, it ignores the intellectual property rights of others.
                            3            73.   Upon information and belief, since at least as early as
                            4   March 13, 2013, American Greetings has offered “Lucky 13” greeting card-themed
                            5   contests, without first seeking permission or otherwise securing a license from
                            6   Lucky 13. There can be no doubt that American Greetings fully understands that
                            7   marketing and selling goods through the use of another’s Federally registered and
                            8   incontestable trademarks without first securing a license or permission is not
                            9   acceptable and cannot be allowed.
                           10            74.   American Greetings’ infringement of Lucky 13’s Federally registered
                           11   and incontestable LUCKY 13® trademarks is clear-cut. Lucky 13 is concerned
                           12   that American Greetings’ past use and any future use of the term “Lucky 13” to
                           13   market and sell greeting cards is likely to cause and will continue to cause
                           14   confusion with and dilute the significant value of Lucky 13’s Federally registered
                           15   and incontestable LUCKY 13® trademarks.
                           16            75.   American Greetings’ unauthorized use and continued use in interstate
                           17   commerce of “Lucky 13” for the marketing and sale of at least greeting cards is
                           18   identical in nature to Lucky 13’s marketing and sale of the LUCKY 13® Goods.
                           19   This is because Lucky 13’s LUCKY 13® Goods and American Greetings’ greeting
                           20   cards are marketed and sold in the same distribution channels and for a similar
                           21   price.
                           22            76.   American Greetings has caused and is likely to cause confusion,
                           23   mistake or deception (a) as to the characteristics, qualities or origin of Lucky 13’s
                           24   LUCKY 13® Goods, (b) as to an affiliation, connection or association between
                           25   Lucky 13 and American Greetings, through at least www.taylorswiftcards.com,
                           26   and (c) as to the sponsorship or approval of American Greetings’ “Lucky 13”
                           27   Sweepstakes contest by Lucky 13.
                           28
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                            1          77.     Like Swift and American Greetings, Lucky 13 is committed to
                            2   protecting its LUCKY 13® trademarks against the use of identical or confusingly
                            3   similar marks, for itself and its licensees in order to continue to administer its own
                            4   highly successful licensing program.
                            5                                   FIRST CLAIM FOR RELIEF
                            6           (Infringement of Federally Registered Trademark (Lanham Act §32))
                            7          78.     Lucky 13 hereby re-alleges and incorporates by reference each of the
                            8   allegations from Paragraph Nos. 1 through 77 hereof as if fully stated herein.
                            9          79.     Lucky 13 is the owner and registrant of numerous United States
                           10   Federally registered and incontestable LUCKY 13® trademarks, additional
                           11   Federally registered LUCKY 13® trademarks, and other LUCKY 13™
                           12   trademarks.
                           13          80.     Defendants are not authorized to use any of the LUCKY 13 Federally
                           14   registered and incontestable trademarks, additional Federally registered
                           15   LUCKY 13® trademarks, and other LUCKY 13™ trademarks.
                           16          81.      Both Lucky 13 and Defendants market and sell apparel and other
                           17   goods and/or services to the same or similar consumers.
                           18          82.     Without Lucky 13’s consent or authorization, Defendants have used
                           19   and are using “Lucky 13” in connection with the advertising, marketing and
                           20   offering of apparel and other goods and/or services in interstate commerce, which
                           21   imitates Lucky 13’s LUCKY 13® United States Federally registered and
                           22   incontestable trademarks, as well as Lucky 13’s additional Federally registered
                           23   LUCKY 13® trademarks, and other LUCKY 13™ trademarks.
                           24          83.     The use of Lucky 13’s Federally registered and incontestable
                           25   LUCKY 13® trademarks, and well as its additional Federally registered
                           26   LUCKY 13® trademarks, and other LUCKY 13™ trademarks, was done by
                           27   Defendants with knowledge and intent to create confusion or mistake, or to deceive
                           28   as to the source of Defendants’ goods and/or services.
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                            1          84.     As a result of Defendants’ conduct, there is a strong likelihood of
                            2   confusion, mistake, or deception. Many individuals familiar with Lucky 13’s
                            3   LUCKY 13® Goods, reputation and favorable goodwill are likely to:
                            4   (a) purchase Swift’s “Lucky 13” goods; and, (b) upon encountering the “Lucky 13”
                            5   Sweepstakes offered by Defendants, purchase greeting cards and other goods
                            6   available to be purchased on the www.taylorswiftcards.com website and other
                            7   similar points of purchase, under the mistaken belief that such goods and/or
                            8   services are offered or authorized by Lucky 13.
                            9          85.     Defendants’ actions have been and are willful, unfair, false and
                           10   deceptive, in that they tend to mislead, deceive and confuse, and have had and,
                           11   unless enjoined, will continue to have the result of misleading, deceiving and
                           12   confusing the public to believe that Defendants and/or their goods and/or services
                           13   are affiliated with, sponsored or controlled by Lucky 13.
                           14          86.     The foregoing actions of Defendants constitute trademark
                           15   infringement by inducing the erroneous belief that Defendants and/or their goods
                           16   and/or services are in some manner affiliated with, originate from, or are sponsored
                           17   by Lucky 13 in violation of Lanham Act § 32, 15 U.S.C. § 1114.
                           18          87.     Lucky 13 is informed and believes, and on that ground alleges, that
                           19   Defendants have made and/or will make unlawful gains and profits from their
                           20   unlawful actions as alleged herein, and by reason thereof, Lucky 13 has been
                           21   deprived of gains and profits which otherwise would have inured to Lucky 13 but
                           22   for such unlawful actions.
                           23          88.     Lucky 13 has no adequate remedy at law for the injuries alleged in
                           24   this Count. The injuries are, in part, intangible in nature and not capable of being
                           25   fully measured or valued in terms of monetary damages. Further, the injuries are
                           26   of a continuing nature and will continue to be suffered so long as Defendants
                           27   continue their wrongful conduct.
                           28
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                            1          89.     Notwithstanding the difficulty of fully ascertaining the value of the
                            2   damage to Lucky 13 caused by Defendants’ wrongful conduct, Defendants’
                            3   conduct has resulted in irreparable, direct and proximate damages to Lucky 13.
                            4   Thus, Lucky 13 is entitled to injunctive relief under 15 U.S.C. §1116(a).
                            5                                  SECOND CLAIM FOR RELIEF
                            6       (False Designation of Origin and Unfair Competition (Lanham Act §43(a))
                            7          90.     Lucky 13 repeats and re-alleges each and every allegation contained
                            8   in Paragraph Nos. 1 through 77 hereof as if fully stated herein.
                            9          91.     Lucky 13 is the owner and registrant of numerous United States
                           10   Federally registered and incontestable LUCKY 13® trademarks, additional
                           11   Federally registered LUCKY 13® trademarks, and other LUCKY 13™
                           12   trademarks.
                           13          92.     Defendants are not authorized to use any of the LUCKY 13 Federally
                           14   registered and incontestable trademarks, additional Federally registered
                           15   LUCKY 13® trademarks, and other LUCKY 13™ trademarks.
                           16          93.     Both Lucky 13 and Defendants market and sell apparel and other
                           17   goods and/or services to the same or similar consumers.
                           18          94.     Without Lucky 13’s consent or authorization, Defendants have used
                           19   and are using “Lucky 13” in connection with the advertising, marketing and
                           20   offering of apparel and other goods and/or services in interstate commerce, which
                           21   imitates Lucky 13’s LUCKY 13® United States Federally registered and
                           22   incontestable trademarks, as well as Lucky 13’s additional Federally registered
                           23   LUCKY 13® trademarks, and other LUCKY 13™ trademarks.
                           24          95.     Through their adoption and use of the “Lucky 13” term, which is
                           25   identical to Lucky 13’s Federally registered and incontestable LUCKY 13®
                           26   trademarks, Defendants have intentionally and falsely designated the origin of their
                           27   “Lucky 13” apparel and/or other goods and/or services so as to profit from
                           28   Lucky 13’s well-earned and carefully crafted reputation by confusing the public as
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                            1   to the source, origin, sponsorship or approval of its “Lucky 13” apparel and/or
                            2   other goods and/or services.
                            3             96.   Defendants’ unauthorized use and continued use in interstate
                            4   commerce of “Lucky 13” apparel and/or other goods and/or services have caused
                            5   and are likely to continue to cause confusion, mistake or deception (a) as to the
                            6   characteristics, qualities or origin of Lucky 13’s LUCKY 13® and LUCKY 13™
                            7   goods, services, and/or commercial activities, (b) as to an affiliation, connection or
                            8   association between Lucky 13 and Defendants, and (c) as to the sponsorship or
                            9   approval of Swift’s “Lucky 13” apparel and Defendants’ other goods, services
                           10   and/or commercial activities by Lucky 13. Consumers are likely to purchase
                           11   products from Defendants under the mistaken belief that Defendants and their
                           12   “Lucky 13” Sweepstakes are affiliated, connected, or associated with Lucky 13
                           13   itself.
                           14             97.   Defendants’ actions described herein were undertaken with the
                           15   intention of deceiving and misleading the public at large and wrongfully trade on
                           16   the goodwill and reputation of Lucky 13.
                           17             98.   Such actions, as used in commercial advertising, have misrepresented
                           18   and, unless enjoined, will continue to misrepresent the nature, characteristics or
                           19   qualities of Swift’s “Lucky 13” apparel, and Defendants’ other goods, services
                           20   and/or commercial activities for which Lucky 13 is without adequate remedy at
                           21   law.
                           22             99.   The activities of Defendants complained of herein also have caused
                           23   Lucky 13, inter alia, monetary loss and damage including, but not limited to, the
                           24   loss of profits in an amount not yet determined.
                           25             100. Further, the injury is of a continuing nature and will continue to be
                           26   suffered so long as Defendants continue their wrongful conduct. Notwithstanding
                           27   the inadequacy of, and the difficulty of, fully ascertaining the value of the damage
                           28   to Lucky 13 caused by Defendants’ wrongful conduct, Lucky 13 is informed and
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                            1   believes, and on that ground alleges, that said conduct has resulted in irreparable,
                            2   direct and proximate damages to Lucky 13.
                            3                                  THIRD CLAIM FOR RELIEF
                            4                      (Federal Trademark Dilution (Lanham Act §43(c))
                            5          101. Lucky 13 repeats and re-alleges each and every allegation contained
                            6   in Paragraph Nos. 1 through 77 hereof as if fully stated herein.
                            7          102. Lucky 13 is the owner and registrant of numerous United States
                            8   Federally registered and incontestable LUCKY 13® trademarks, additional
                            9   Federally registered LUCKY 13® trademarks, and other LUCKY 13™
                           10   trademarks.
                           11          103. Lucky 13’s LUCKY 13® trademarks are famous and distinctive and
                           12   therefore are entitled to protection against dilution by blurring or tarnishment.
                           13          104. Defendants are not authorized to use any of the LUCKY 13®
                           14   Federally registered and incontestable trademarks, additional Federally registered
                           15   LUCKY 13® trademarks, and other LUCKY 13™ trademarks.
                           16          105. Defendants commenced use of Lucky 13’s Federally registered and
                           17   incontestable LUCKY 13® trademarks in commerce after the LUCKY 13® name
                           18   and mark had become famous and distinctive through Lucky 13’s decades of
                           19   advertising, marketing, and selling LUCKY® goods.
                           20          106. After the LUCKY 13® marks became famous, Defendants
                           21   commenced use of the “Lucky 13” term in commerce in conjunction with at least
                           22   “Lucky 13” apparel and the “Lucky 13” Sweepstakes contest.
                           23          107. Defendants, by using the LUCKY 13® trademarks in connection with
                           24   “Lucky 13” apparel and other goods and/or services in a manner in which
                           25   consumers are deceived as to the nature and origin of the goods and/or services
                           26   provided, have injured and will continue to injure Lucky 13’s business reputation,
                           27   have tarnished the distinctive quality of Lucky 13’s famous name and marks, and
                           28   have lessened the capacity of Lucky 13’s famous LUCKY 13® trademarks to
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                            1   identify and distinguish the LUCKY 13® Goods, in violation of
                            2   15 U.S.C. § 1125(c).
                            3          108. Because of the similarity between the LUCKY 13® marks and
                            4   Defendants’ use of the “Lucky 13” term, Defendants’ use in commerce of
                            5   “Lucky 13” is likely to impair the distinctiveness of the LUCKY 13® Federally
                            6   registered and incontestable trademarks, additional Federally registered
                            7   LUCKY 13® trademarks, and other LUCKY 13™ trademarks, causing dilution by
                            8   blurring.
                            9          109. Because of the similarity between the LUCKY 13® marks and
                           10   Defendants’ use of the “Lucky 13” term, Defendants’ use in commerce of
                           11   “Lucky 13” is likely to harm the distinctiveness of the LUCKY 13® Federally
                           12   registered and incontestable trademarks, additional Federally registered
                           13   LUCKY 13® trademarks, and other LUCKY 13™ trademarks, causing dilution by
                           14   tarnishment.
                           15          110. Defendants’ actions have caused, and unless enjoined will continue to
                           16   cause, substantial and irreparable injury to Lucky 13 for which Lucky 13 has no
                           17   adequate remedy at law, including but not limited to substantial and irreparable
                           18   injury to the goodwill and reputation associated with the LUCKY 13® Federally
                           19   registered and incontestable trademarks, additional Federally registered
                           20   LUCKY 13® trademarks, and other LUCKY 13™ trademarks.
                           21          111. Defendants’ actions have been willful, intentional, and malicious, and
                           22   have been done with knowledge and intent to trade on the recognition of the
                           23   LUCKY 13 trademarks and to harm the reputation of the LUCKY 13 trademarks.
                           24          112. As a result of Defendants’ tarnishment of Lucky 13’s name and
                           25   Federally registered and incontestable LUCKY 13® trademarks, Lucky 13 has
                           26   suffered substantial damages, as well as the continuing loss of the goodwill and
                           27   reputation established by Lucky 13 in its marks. This continuing loss of goodwill
                           28   cannot be properly calculated and thus constitutes irreparable harm and an injury
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                            1   for which Lucky 13 has no adequate remedy at law. Lucky 13 will continue to
                            2   suffer irreparable harm unless this Court enjoins Defendants’ conduct.
                            3                                  FOURTH CLAIM FOR RELIEF
                            4           (Unfair Competition under Cal. Bus. & Prof. Code §§ 17200 et seq.)
                            5          113. Lucky 13 hereby re-alleges and incorporates by reference each of the
                            6   allegations from Paragraph Nos. 1 through 77 hereof as if fully stated herein.
                            7          114.     Lucky 13 is informed and believes, and on that basis alleges, that
                            8   Defendants have intentionally misappropriated Lucky 13’s LUCKY 13® Federally
                            9   registered and incontestable trademarks, additional Federally registered
                           10   LUCKY 13® trademarks, and other LUCKY 13™ trademarks, with the intent of
                           11   causing confusion, mistake and deception as to the source of their goods with the
                           12   intent to pass off their goods as those of Lucky 13, and as such, Defendants have
                           13   committed unfair competition in violation of California Business and Professions
                           14   Code §§ 17200 et seq.
                           15          115. The foregoing acts of Defendants have caused and will continue to
                           16   cause injury to Lucky 13 by depriving it of sales of its genuine LUCKY 13 Goods,
                           17   injuring its business reputation and by passing off Defendants’ goods, services
                           18   and/or commercial activities as Lucky 13’s goods, all in violation of California
                           19   Business and Professions Code §§ 17200 et seq.
                           20          116. Defendants’ acts have caused and will continue to cause irreparable
                           21   harm and damage to Lucky 13, and have caused and will continue to cause
                           22   Lucky 13 monetary damage in an amount not yet determined, for which Lucky 13
                           23   is entitled to, including restitution and attorneys’ fees and costs under California
                           24   Business and Professions Code §§ 17200 et seq.
                           25          117. Defendants’ infringement of Lucky 13’s intellectual property
                           26   described herein constitutes “unlawful, unfair or fraudulent business act[s] or
                           27   practice[s] and unfair, deceptive, untrue or misleading advertising” within the
                           28   meaning of California Business and Professions Code §17200.
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                            1          118. As a consequence of Defendants’ actions, Lucky 13 is entitled to
                            2   injunctive and monetary relief under California Business and Professions Code
                            3   §§ 17200 et seq.
                            4                                   FIFTH CLAIM FOR RELIEF
                            5                                  (Common Law Misappropriation)
                            6          119. Lucky 13 hereby re-alleges and incorporates by reference each of the
                            7   allegations from Paragraph Nos. 1 through 77 hereof as if fully stated herein.
                            8          120. Lucky 13 has invested substantial time, man-hours, resources and
                            9   money in adopting, developing and using the LUCKY 13® Federally registered
                           10   and incontestable trademarks, additional Federally registered LUCKY 13®
                           11   trademarks, and other LUCKY 13™ trademarks (“Investment Capital”), and the
                           12   Federally registered and incontestable LUCKY 13® trademarks are Lucky 13’s
                           13   property.
                           14          121. In committing the acts of trademark infringement and unfair
                           15   competition as alleged herein, Defendants have misappropriated and taken without
                           16   permission Lucky 13’s property and converted it to their own use for their own
                           17   benefit.
                           18          122. Lucky 13 is informed and believes, and on that ground alleges, that by
                           19   misappropriating and converting Lucky 13’s property, Swift and American
                           20   Greetings have benefited greatly and illegitimately by using the LUCKY 13
                           21   trademarks to, (a) for Swift, offer Swift’s “Lucky 13” apparel; and, (b) for Swift
                           22   and American Greetings, to offer other goods, services and/or commercial
                           23   activities for sale without having to make a substantial investment of their own
                           24   Investment Capital.
                           25          123. Defendants’ acts constitute common-law misappropriation under the
                           26   common law of the State of California.
                           27          124. Defendants have been and will continue to be unjustly enriched by
                           28   their acts of misappropriation, unless enjoined.
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                            1          125. The foregoing acts of Defendants have injured and will continue to
                            2   injure Lucky 13 by depriving it of sales of its genuine LUCKY 13® goods and by
                            3   injuring its business reputation and goodwill, all in violation of the common law of
                            4   the State of California.
                            5          126. Defendants’ acts have caused and will continue to cause irreparable
                            6   harm and damage to Lucky 13, and have caused and will continue to cause
                            7   monetary damage to Lucky 13 in an amount thus far not determined, for which
                            8   Lucky 13 is entitled to its actual damages, Defendants’ profits, punitive damages,
                            9   attorney fees and costs.
                           10          127. Lucky 13 has no adequate remedy at law.
                           11                                      PRAYER FOR RELIEF
                           12          WHEREFORE, Plaintiffs pray for the following relief:
                           13          A.      A determination that Defendants’ conduct infringes Lucky 13’s
                           14   Federally registered and incontestable LUCKY 13® trademarks, falsely designates
                           15   the origin of Defendants’ “Lucky 13” apparel and other products, falsely describes
                           16   such apparel and other products, and unfairly competes with Lucky 13, all in
                           17   violation of Lanham Act §§43(a) and 32, 15 U.S.C. §1125, and 15 U.S.C. §1114 et
                           18   seq.
                           19          B.      A determination that Defendants’ conduct infringes Lucky 13’s
                           20   Federally registered and incontestable LUCKY 13® trademarks and unfairly
                           21   competes with and misappropriates the property of Lucky 13 under California
                           22   Business and Professions Code §§ 17200 et seq. and the common law of the State
                           23   of California.
                           24          C.      That Defendants and their agents, officers, directors, servants,
                           25   employees, attorneys, its successors and assignees, and all others in active concert
                           26   or participation with Defendants be preliminarily and permanently enjoined from
                           27   directly or indirectly:
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                            1                  i.      Using Lucky 13’s Federally registered and incontestable
                            2      LUCKY 13® trademarks, or any other trademarks which are confusingly
                            3      similar to or colorable imitations of Lucky 13’s Federally registered and
                            4      incontestable LUCKY 13® trademarks, including, without limitation, the
                            5      term “Lucky 13” alone or as part of or together with any other designs, word
                            6      or words, trademark, service mark, trade name, trade dress or other business
                            7      or commercial designation or any logo, symbol or design;
                            8            ii.           Committing any act which, in and of itself, or from the manner
                            9      or under the circumstances in which it is done amounts to false designation
                           10      of origin, false description or false representation of Defendants’ “Lucky 13”
                           11      apparel and other goods; and,
                           12           iii.           Otherwise unfairly competing with Lucky 13 or
                           13      misappropriating Lucky 13’s intellectual property, including, but not limited
                           14      to Lucky 13’s Federally registered and incontestable LUCKY 13®
                           15      trademarks.
                           16          D.           That the Court issue an Order directing Defendants to file with the
                           17   Court and serve on Lucky 13, within thirty days after the service on Defendants of
                           18   such injunctions, a report in writing and under oath, setting forth in detail the
                           19   manner and form in which Defendants have complied with the injunction.
                           20          E.           That the Court award judgment in favor of Lucky 13 for the amount
                           21   of either damages sustained by Lucky 13 or the profits made by Defendants as a
                           22   result of Defendants’ wrongful conduct, whichever amount is greater, and damages
                           23   in an amount necessary for Lucky 13 to conduct corrective advertising to eliminate
                           24   the confusion caused by Defendants’ wrongful acts.
                           25          F.           That the Court award judgment in favor of Lucky 13 in the amount
                           26   of treble damages under 15 U.S.C. §1117, plus prejudgment interest.
                           27          G.           That the Court award judgment against Defendants for the full costs
                           28   of this action, including reasonable attorneys’ fees.
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                            1          H.      That the Court award to Lucky 13 punitive damages sufficient to deter
                            2   Defendants from committing such willful acts of infringement in the future.
                            3          I.      That the Court award interest on all amounts found to be due to Lucky
                            4   13 from Defendants, at the prevailing rate, from the date said amounts or any part
                            5   thereof became or become due.
                            6          J.      That the Court require Defendants to notify their parent, subsidiaries,
                            7   affiliated companies, commercial associates, dealers, dealer advertising
                            8   associations, advertising agencies, suppliers and customers of said Order.
                            9          K.      That the Court order such other, further and different relief as the
                           10   nature of this action may require and that the Court deems just and proper.
                           11          L.      That the Court retain jurisdiction of this action for the purpose of
                           12   enabling Lucky 13 to apply to the Court, at any time, for such further orders as
                           13   may be necessary or appropriate for the interpretation or execution of any order
                           14   entered in this action, for the modification of any such order, for the enforcement
                           15   or compliance therewith, and for the punishment of any violations thereof.
                           16

                           17   DATED: June 26, 2014                       STRADLING YOCCA CARLSON
                                                                           & RAUTH, P.C.
                           18

                           19

                           20
                                                                           By: /s/ Mark L. Skaist
                           21                                                  Mark L. Skaist
                                                                               Justin E. Klaeb
                           22                                                  Attorneys for Plaintiffs,
                                                                               BLUE SPHERE, INC. doing business
                           23                                                  as LUCKY 13 and ROBERT A.
                                                                               KLOETZLY
                           24

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                            1                                         JURY DEMAND
                            2           Plaintiffs, Blue Sphere, Inc. doing business as Lucky 13 and Robert A.
                            3   Kloetzly hereby demand a trial by jury pursuant to Rule 38 of the Federal Rules of
                            4   Civil Procedure on each cause of action asserted in its Complaint that is triable by
                            5   jury.
                            6

                            7   DATED: June 26, 2014                       STRADLING YOCCA CARLSON
                                                                           & RAUTH, P.C.
                            8

                            9

                           10
                                                                           By: /s/ Mark L. Skaist
                           11                                                  Mark L. Skaist
                                                                               Justin E. Klaeb
                           12                                                  Attorneys for Plaintiffs,
                                                                               BLUE SPHERE, INC. doing business
                           13                                                  as LUCKY 13 and ROBERT A.
                                                                               KLOETZLY
                           14

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